                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      at WINCHESTER

 UNITED STATES OF AMERICA                     )
                                              )
 v.                                           )       Case No. 4:10-CR-17
                                              )
 ERIC SCOTT                                   )       MATTICE/CARTER

                                            ORDER

        On September 2, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to manufacture, possess with intent

 to distribute and distribute a mixture and substance containing a detectable amount of

 methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846,

 841(a)(1) and 841(b)(1)(C), in exchange for the undertakings made by the government in the

 written plea agreement; (b) the Court adjudicate Defendant guilty of the charges set forth in the

 lesser included offense in Count One of the Indictment; (c) that a decision on whether to accept

 the plea agreement be deferred until sentencing; and (d) Defendant shall remain in custody

 pending sentencing in this matter (Doc. 245). Neither party filed an objection within the given

 fourteen days. After reviewing the record, the Court agrees with the magistrate judge’s report

 and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the

 Indictment, in exchange for the undertakings made by the government in the written plea

 agreement, is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included



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 offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 February 7, 2011, at 9:00 am.

        SO ORDERED.

        ENTER:


                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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